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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY


          IN RE JOHNSON & JOHNSON                              MDL NO. 16-2738 (FLW) (LHG)
          TALCUM POWDER PRODUCTS
          MARKETING, SALES PRACTICES,
          AND PRODUCTS LIABILITY
          LITIGATION


          THIS DOCUMENT RELATES TO ALL CASES


                             CASE MANAGEMENT ORDER NO. 12
                                       (Schedule for Expert
                                Witnesses and Daubert Proceedings)


           And Now, this 6th day of August, 2018, after discussing with the parties during the Court’s
   July 9, 2018 Status Conference the issues of the schedule for general causation expert witnesses
   in this case and the scheduling of Daubert proceedings, it is hereby ORDERED AND
   DECREED, as follows:
          1. For the purposes of submitting general causation expert reports, the deadline for the
             substantial completion of samples testing is October 1, 2018. The Plaintiffs’ Steering
             Committee (“PSC”) may provide to its experts test results that become available after
             October 1st, but the deadline for serving expert reports will remain unchanged.

          2. The general causation expert reports of the PSC shall be served on Defendants’ counsel
             on or before November 16, 2018;

          3. Defendants shall complete any depositions they desire to take of the PSC’s general
             causation experts in this case by December 17, 2018;

          4. The general causation expert reports of Defendants shall be served on the PSC on or
             before February 15, 2019;

          5. The PSC shall complete any depositions they desire to take of the Defendants’ general
             causation experts in this case by March 18, 2019;
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        6. Any Daubert motions that any party desires to file regarding any general causation
           expert in this case shall be filed on or before April 18, 2019;

        7. Oppositions to any Daubert motions shall be filed on or before May 9, 2019; and

        8. Any replies to any oppositions to any Daubert motions shall be filed on or before May
           23, 2019.

        9. The Daubert motions will be heard on June 11, 2019, commencing at 10:00 a.m. Prior
           to this date, the Court will discuss with the parties whether any witnesses shall be
           required to appear at the Daubert hearing and depending on whether witnesses shall be
           required to appear, the length of the Daubert hearing.




                                                    BY THE COURT:




                                                    /s/ Freda L. Wolfson
                                                    FREDA L. WOLFSON, USDJ




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